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  1   PETER C. ANDERSON
      UNITED STATES TRUSTEE
  2   OFFICE OF THE UNITED STATES TRUSTEE
      915 Wilshire Blvd., Suite 1850
  3   Los Angeles, California 90017-3560
       (213) 894-6811
  4
                                UNITED STATES BANKRUPTCY COURT
  5
                                 CENTRAL DISTRICT OF CALIFORNIA
  6
                              LOS ANGELES DIVISION
  7                                   )
      In re:                          ) Chapter 7
  8                                   )
      LAYFIELD & BARRETT, APC         ) Case Nos.: 2:17-bk-19548-NB
  9                                   )
                                      ) NOTICE OF APPOINTMENT OF
 10                                   ) TRUSTEE AND FIXING OF BOND;
                                      ) ACCEPTANCE OF APPOINTMENT AS
 11                                   ) INTERIM TRUSTEE
                                      )
 12

 13                              Pursuant to 11 U.S.C. 701 and 11 U.S.C. 322
 14
                     RICHARD PACHULSKI, of LOS ANGELES, CA
 15

 16
             is appointed Interim Trustee of the case of said debtor(s) and is hereby designated to
 17   preside at the meeting of creditors. This case is covered by the chapter 7 blanket bond on file with
      the Court on behalf of the Trustees listed on Schedule A of the bond and any amendments or
 18   modifications thereto.
 19
      DATED: December 9, 2022
 20

 21                                                         PETER C. ANDERSON
 22                                                         UNITED STATES TRUSTEE
 23
      I, the undersigned, affirm that to the best of my knowledge and belief, I am disinterested within the
 24   meaning of 11 U.S.C. 101(14), and on this basis, I hereby accept my appointment as Interim
      Trustee in the above case. I will immediately notify the United States Trustee if I become aware of
 25   any facts to the contrary.
 26                                                                   /s/Richard Pachulski
             DATED: January 10, 2023                                 ___________________
 27                                                                  RICHARD PACHULSKI
                                                                     Interim Trustee
 28

                                                        1
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify):
NOTICE OF APPOINTMENT OF TRUSTEE AND FIXING OF BOND; ACCEPTANCE OF
                 APPOINTMENT AS INTERIM TRUSTEE
 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 10, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 10, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Philip Layfield
FCI Texarkana
4001 LEOPARD DRIVE
TEXARKANA, TX 75501
                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 January 10, 2023                       Sophia L. Lee                                         /s/ Sophia L. Lee
 Date                                    Printed Name                                         Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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        Case 2:17-bk-19548-NB                   Doc 622 Filed 01/10/23 Entered 01/10/23 09:58:37                                      Desc
                                                 Main Document     Page 3 of 3
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
       Case 2:17-bk-19548-NB
       Wesley H Avery wes@averytrustee.com, lucy@averytrustee.com;alexandria@averytrustee.com
       Jason Balitzer jbalitzer@sulmeyerlaw.com, jbalitzer@ecf.inforuptcy.com;dwalker@ecf.inforuptcy.com;kmccamey@sulmeyerlaw.com
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       Robert G Uriarte rgulawoffice@gmail.com
       Gary R Wallace garyrwallace@ymail.com
       Alan J Watson alan.watson@hklaw.com, rosanna.perez@hklaw.com




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